  Case 2:94-cr-00062-MHT-SRW Document 2112 Filed 05/05/15 Page 1 of 1




      IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA                 )
                                         )         CRIMINAL ACTION NO.
        v.                               )             2:94cr62-MHT
                                         )                 (WO)
FRANK SOWERS                             )

                                   ORDER

      It is ORDERED that defendant Frank Sowers’s motion

for appointment of counsel (doc. no. 2110) is denied.

Defendant         Sowers   does    not        need    the    assistance      of

counsel      in    order   to     have       his   case     reviewed   for    a

sentencing reduction under Amendment 782.                        Should the

court later determine that counsel is needed in order

to address defendant Sowers’s claim that his base level

was    miscalculated,       it     will      appoint      counsel   at    that

time.

      DONE, this the 5th day of May, 2015.

                                      /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE
